 

 

 

 

 

 

 

 

[7] Los Angeles [_] Ventura
Orange [_] Santa Barbara
[_| Riverside [_] San Luis Obispo

[_] San Bernardino [_] Other

18 USC 371, 545, 16 USC 3372(d){1),

16 USC 3373{d)(3), 18 USC 2(b)

e. Division in which the MAJORITY of events, acts, or omissions
ving rise to the crime or crimes charged occurred:

Citation of Offense

 

 

Western (Los Angeles, San Luis Obispo, Santa Barbara, Ventura)

[_] Eastern (Riverside and San Bernardino) [. | Southern (Orange)
RELATED CASE

Has an indictment or information involving this defendant and
the same transaction or series of transactions been previously

No [_] Yes

filed and dismissed before trial?

IF YES Case Number
Pursuant to General Order 16-05, criminal cases may be related

 

if a previously filed indictment or information and the present

case:

a. arise out of the same conspiracy, common scheme,
transaction, series of transactions or events; or

b. involve one or more defendants in common, and would
entail substantial duplication of labor in pretrial, trial or
sentencing proceedings if heard by different judges.

Related case(s), if any; MUST MATCH NOTICE OF RELATED

CASE

 

 

 

 

 

 

 

 

 

Case 2:17-cr-00574-ODW Document 15 Filed 09/14/17 Page 1 of 2 Page ID #:102
UNITED STATES DISTRICT COURT 3
CENTRAL DISTRICT OF CALIFORNIA ee = oc
- . p= CASE SUMMARY 4 eg Cc
Case Number | r e IK UU vi FOR Defendant Number. 1 -. 4 Be -
U.S.A. v. SHAWN NAOLU. LEE Year ofBirth 1988 oe
Indictment | L_] Information Investigative agency (FBI, DEA, etc). USFWS, 7 * o SS
NOTE: All items are to be completed. Information not applicable or unknown shall be indicated as "N/A." cor WS
OFFENSE/VENUE wo, PREVIOUSLY FILED. COMPLAINT \
a. Offense charged as a oa A complaint was préviously filed on: August 11,2017
[| Class A Misdemeanor : [_] Minor Offense [] Petty Offense Case Number MJ 17-2030
[| ClassB Misdemeanor ["] Class C Misdemeanor [y] Felony Charging 18 USC 371, 545
b. Date of Offense February 9,2017 . ; .
c. County in which first offense occurred The complaint: is still pending
Orange County | L_] was dismissed on: Q,
d. The crimes charged are alleged to have been committed in: PREVIOUS COUNSEL
CHECK ALL THAT APPLY Was defendant previously represented? [| No Yes

iF YES, provide Name: Georgina Wakefield, DFPD

213-894-4795

 

Phone Number:
COMPLEX CASE

 

Are there 8 or more defendants in the Indictment/Information?
|] Yes* [|] No

Will more than 12 days be required to present government's
evidence in the case-in-chief?

[| Yes* [] No

*AN ORIGINAL AND 1 COPY (UNLESS ELECTRONICALLY FILED)
OF THE NOTICE OF COMPLEX CASE MUST BE FILED AT THE
UME HE INDICTMENT IS FILED IF EITHER "YES" BOX IS

D.

Superseding Indictment/Information
[| Yes

superseding charge, i.e. Ist, 2nd.

IS THIS A NEW DEFENDANT?

This is the --.
The superseding case was previously filed on:

[ ] No

 

Case Number
The superseded case:

 

[_] is still pending before Judge/Magistrate Judge

 

[_] was previously dismissed on

 

Are there 8 or more defendants in the superseding case?
[_] Yes* [-] No

Will more than 12 days be required to present government's
evidence in the case-in-chief?
[] No

[_] Yes*

 

CR-72 (10/16)

CASE SUMMARY

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Case 2:17-cr-00574-ODW Document 15 Filed 09/14/17 Page 2of2 Page ID #:103
, UNITED STATES DISTRICT COURT -
CENTRAL DISTRICT OF CALIFORNIA

CASE SUMMARY ~

 

 

"Was a Notice of Complex Case filed on the Indictment or
Information?

[_] Yes No

*AN ORIGINAL AND 1 COPY OF THE NOTICE OF COMPLEX CASE
MUST BE FILED AT THE TIME THE SUPERSEDING INDICTMENT IS
FILED IF EITHER "YES" BOX IS CHECKED.

Is an interpreter required? ‘: .. [| YES [_] NO
IF YES, list language and/or dialect: .

 

OTHER
Male [_] Female
U.S. Citizen [ ]Alien +:
- 74
Alias Name(s) Pumpkin 420

 

 

This defendant is charged in: All counts

[_] Only counts:

 

[| This defendant is designated as "High Risk" per
18 USC § 3146 (a)(2) by the U.S. Attorney.

[_] This defendant is designated as "Special Case" per

18 USC § 3166 (b)(7).
Is defendant a juvenile? [ ]Yes No
IF YES, should matter be sealed? [_] Yes No

The area of substantive law that will be involved in this case
includes:

[_] financial institution fraud [_] public corruption
[_] tax offenses

[_] mail/wire fraud

[_] government fraud
environmental issues
[ | narcotics offenses

[_] violent crimes/firearms [_] corporate fraud

[1 Other wildlife Trafficking

{| immigration offenses °”

 

 

CUSTODY STATUS : +

Defendant is not in custody:
a. Date and time of atrest on complaint: 8/16/17, 10 a.m.

b. Posted bond at complaint level on: 8/18/17

in the amount of $,15,000 unsecured personal appearance

c.PSA supervision? [v] Yes [_]No
d. Is.on bail or release from another district:

 

Defendant is in custody:

[] Federal

a. Place of incarceration: [_] State

b. Name of Institution: i
c. If Federal: U.S. Marshal's Registration Number:

 

 

d.[_] Solely on this charge. Date and time of arrest:

 

e, On another conviction: [_] Yes [-] No
IFYES: [_] State [_] Federal [] Writ of Issue
f. Awaiting trial on other charges: [_] Yes [] No
IFYES: [7] State [_] Federal AND

Name of Court:

 

Date transferred to federal custody:

This person/proceeding is transferred from another district
pursuant to F.R.Cr.P. 20 21 40

 

EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information. EXPLAIN:

 

 

Date 09/14/2017.

F
wi f af 2

 

. :
Signature of Assistant U.S. Attorney -
AUSA AMANDA M. BETTINELLI

 

Print Name

 

CR-72 (10/16)

CASE SUMMARY

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